                         UNITED STATES BANKRUPTCY COURT
                          EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION - DETROIT

IN RE :
                                                                  Chapter 7
RUSSELL G. PHILLIPS,                                              Case No. 12-66528
      Debtor.                                                     Hon. Walter Shapero
_________________________________/

TIMOTHY J. MILLER, TRUSTEE
     Plaintiff,

v.
                                                                  Adv. Pro. 14-04726
BRYON M. EVANS, and
AMANDA EVANS
      Defendants.
_________________________________/

          ORDER DENYING CROSS-MOTIONS FOR SUMMARY JUDGMENT

        For the reasons stated in the contemporaneously entered opinion, the cross motions for

summary judgment (Dkt. 22, 28) are both denied.
                                               .

Signed on May 08, 2015
                                               ____ __/s/ Walter Shapero_    ___
                                                  Walter Shapero
                                                  United States Bankruptcy Judge




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